      Case 2:16-cv-01389-NBF Document 7 Filed 10/07/16 Page 1 of 2
            Case 2:16-cv-01389-NBF Document 6 Filed 10/07/16



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CARISSA PERONIS, Administratrix of                  Civil Action No:     I , _ rJ f'i
the Estate of KENDALL PERONIS,
deceased, and MATTHEW FRITZIUS,
                                                    ELECTRONICALLY FILED
                  Plaintiffs,

       v.

UNITED STATES OF AMERICA;
PRIMARY HEALTH NETWORK-
BEA VER FALLS PRIMARY CARE;
VALLEY MEDICAL FACILITIES, INC.
t/d/b/a HERITAGE VALLEY
PEDIATRICS; VALLEY MEDICAL
FACILITIES, INC. t/d/b/a HERITAGE
VALLEY BEA VER; KEVIN C. DUMPE,
M.D., and HILARY JONES, M.D.

                Defendants.


 NOTICE OF VOLUNATARY DISMISSAL OF DEFENDNATS PRIMARY HEALTH
NETWORK- BEAVER FALLS PRIMARY CARE and KEVIN C. DUMPE, M.D. ONLY
                 PURSUANT TO F.R.C.P. 41(a)(l)(A)(i)

       Pursuant to Federal Rule of Civil Procedure 41 (a)(l )(A)(i), the Plaintiffs Carissa Peronis,

Administratrix of the Estate of Kendall Peronis, Deceased, and Matthew Fritzius hereby give

notice that Defendants Primary Health Network - Beaver Falls Primary Care and Kevin C.

Dumpe, M.D. are voluntarily dismissed as Defendants without prejudice.

       1.      On September 8, 2016, Plaintiffs filed the Complaint in this action, and named as

Defendants Primary Health Network - Beaver Falls Primary Care and Kevin C. Dumpe, M.D.

       2.      Defendants have not answered the Complaint or moved for summary judgement.

       3.      Federal Rule of Civil Procedure 4l(a)(l)(A)(i) provides that so long as the

opposing party has not yet served an answer or motion for summary judgment, a plaintiff may
       Case 2:16-cv-01389-NBF Document 7 Filed 10/07/16 Page 2 of 2
             Case 2:16-cv-01389-NBF Document 6 Filed 10/07/16 •



voluntarily dismiss a party or action, the case without a court order by filing the notice of

dismissal.

       4.       Plaintiffs hereby give such notice of voluntary dismissal, and Defendants Primary

Health Network - Beaver Falls Primary Care and Kevin C. Dumpe, M.D. are voluntarily

dismissed as Defendants without prejudice.



                                              HARRY S. COHEN & ASSOCIATES


                                              BY:     sl Douglas L. Price
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